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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               HUNTINGTON DIVISION


GENBIOPRO, INC.,

                              Plaintiff,

v.                                                    CIVIL ACTION NO. 3:23-0058

MARK A. SORSAIA, in his official capacity
as Prosecuting Attorney of Putnam County and
PATRICK MORRISEY, in his official capacity
as Attorney General of West Virginia,

                              Defendants.


                                    ORDER AND NOTICE


        Pursuant to LR Civ P 16.1, it is ORDERED that the following dates are hereby fixed as

the times by or on which certain events must occur:

09/14/23       Motions under FR Civ P 12(b), together with supporting briefs, memoranda,
               affidavits, or other such matter in support thereof. (All motions unsupported by
               memoranda will be denied without prejudice pursuant to LR Civ P 7.1(a).)

09/25/23       Last day for Rule 26(f) meeting.

10/02/23       Last day to file report of Rule 26(f) meeting. See Worksheet for Report of Parties’
               Planning Meeting, available on the Court’s website and at LR Civ P 16.1.

10/16/23       Scheduling/ status conference with the Court and lead counsel at 11:30 a.m., unless
               otherwise directed. Be prepared to discuss the following:

               (a)    the discovery to be completed and the amount of time necessary for its
                      completion;
               (b)    the further formulation and simplification of issues, including possible
                      elimination of claims or defenses;
               (c)    the possibility of entering into stipulations regarding issues for trial;
               (d)    the possibility of obtaining admissions regarding facts and documents; and
               (e)    other matters that will assist the parties in reaching a final resolution of this
                      matter.
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10/23/23       Entry of scheduling order.

10/30/23       Last day to make FR Civ P 26(a)(1) disclosures.



                                              NOTICE

       The provision of FR Civ P 14 and 15 with respect to the time in which to file third-party

claims and to amend pleadings without leave of court are not affected by this Order and Notice.

       Pursuant to LR Civ P 16.1 and 73.1, the parties are informed of their opportunity to consent

to the exercise by a magistrate judge of civil jurisdiction over the case, including entry of judgment,

as authorized by 28 U.S.C. § 636. The parties may consent by filing a Consent to Jurisdiction by

a United States Magistrate Judge (FR Civ P Form 34), or by so indicating on the Report of Parties’

Planning Meeting and Worksheet for Report of Parties’ Planning Meeting, all of which are

available on the Court’s website.

       The Court DIRECTS the Clerk to send a copy of this Order and Notice to counsel of record

and any unrepresented parties.


                                               ENTER:          August 24, 2023




                                               ROBERT C. CHAMBERS
                                               UNITED STATES DISTRICT JUDGE




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